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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


COAKLEY PENDERGRASS; TRIANA
ARNOLD JAMES; ELLIOTT                           CIVIL ACTION FILE
HENNINGTON; ROBERT RICHARDS;                    NO. 1:21-CV-05339-SCJ
JENS RUECKERT; and OJUAN GLAZE,

            Plaintiffs,

      v.

BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State,

            Defendant.


                            NOTICE OF APPEAL
      Plaintiffs appeal to the U.S. Court of Appeals for the Eleventh Circuit the

Order overruling Plaintiffs’ objections to Georgia’s 2023 Remedial Congressional

Plan and approving the 2023 Remedial Congressional Plan, entered on December

28, 2023, ECF No. 334.
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Dated: January 22, 2024             Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing NOTICE OF APPEAL has been prepared

in accordance with the font type and margin requirements of LR 5.1, N.D. Ga., using

font types of Times New Roman, point size of 14.

Dated: January 22, 2024                    /s/ Joyce Gist Lewis
                                           Joyce Gist Lewis
                                           Counsel for Plaintiffs

                          CERTIFICATE OF SERVICE

      I hereby certify that I have on this date caused to be electronically filed a copy

of the foregoing NOTICE OF APPEAL with the Clerk of Court using the CM/ECF

system, which will automatically send e-mail notification of such filing to counsel

of record.

Dated: January 22, 2024                    /s/ Joyce Gist Lewis
                                           Joyce Gist Lewis
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